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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

SIXTA GLADYS PEÑA MARTINEZ et al.,         )
                                           )
                 Plaintiffs,               )
                                           )
v.                                         )              Case No. 3:18-cv-01206-WGY
                                           )
ALEX M. AZAR II, Secretary, United States  )
Department of Health and Human Services,   )
in his official capacity et al.,           )
                                           )
                 Defendants.               )
 _________________________________________ )

                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants Alex M. Azar II, Secretary, United States

Department of Health and Human Services (“HHS”), in his official capacity; HHS; Sonny

Perdue, Secretary, United States Department of Agriculture (“USDA”), in his official capacity;

USDA; Andrew Saul, Commissioner of Social Security, in his official capacity; and the Social

Security Administration, hereby appeal to the United States Court of Appeals for the First Circuit

from the Court’s Findings of Fact, Conclusions of Law, and Order entered on August 3, 2020

[ECF No. 97]; Final Judgment [ECF No. 100]; and all underlying decisions on which the Court’s

decision and final judgment were based.

Dated: September 11, 2020                           Respectfully submitted,



                                                    JEFFREY BOSSERT CLARK
                                                    Acting Assistant Attorney General

                                                    ERIC WOMACK
                                                    Assistant Branch Director



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                                                            /s/ Daniel Riess
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of September, 2020, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF System, which will automatically send

notifications of this filing to all attorneys of record.

                                                                  /s/ Daniel Riess




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